             IN THE COURT OF APPEALS OF NORTH CAROLINA

                             [do not modify this line]

                                 No. COA19-976

                          Filed: [do not modify this line]

Mecklenburg County, No. 18 CVS 12903

C INVESTMENTS 2, LLC, Plaintiff,

            v.

ARLENE P. AUGER, HERBERT W. AUGER, ERIC E. CRAIG, GINA CRAIG,
LAURA DUPUY, STEPHEN EZZO, JANICE HUFF EZZO, ANNE CARR GILMAN
WOOD, as Trustee of the FRANCIS DAVIDSON GILMAN, III TRUST fbo PETS UW
dated June 20, 2007, LAUREN HEANEY, BRIDGET HOLDINGS, LLC, GINNER
HUDSON, JACK HUDSON, CHAD JULKA, SABRINA JULKA, ARTHUR MAKI,
RUTH MAKI, JENNIE RAUBACHER, MATTHEW RAUBACHER, as Co-Trustees of
the Raubacher/Cheung Family Trust dated November 11, 2018, LAWRENCE
TILLMAN, LINDA TILLMAN, ASHFAQ URAIZEE, JABEEN URAIZEE, JEFFREY
STEGALL and VALERIE STEGALL, Defendants.


      Appeal by defendants from judgment entered 8 April 2019 by Judge Charles

M. Viser in Mecklenburg County Superior Court. Heard in the Court of Appeals 24

September 2020.


      Parker Poe Adams &amp; Bernstein LLP, by Michael G. Adams and Morgan H.
      Rogers, for plaintiff-appellee.

      Law Office of Kenneth T. Davies, P.C., by Kenneth T. Davies, for defendants-
      appellants Arlene Auger, Herbert Auger, Eric Craig, Gina Craig, Stephen Ezzo,
      Janice Huff Ezzo, Ashfaq Uraizee, and Jabeen Uraizee.

      Tillman Wright, PLLC, by Chad D. Tillman and Jeremy C. Doerre, for
      defendants-appellees Lawrence and Linda Tillman.

      Jordan Price Wall Gray Jones &amp; Carlton PLLC, by H. Weldon Jones, III, for
      amicus curiae Community Associations Institute.
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           Offit Kurman, P.A., by Zipporah Basile Edwards, for amicus curiae North
           Carolina Land Title Association.

           Law Office of Kenneth T. Davies, P.C., by Kenneth T. Davies; Robinson,
           Bradshaw &amp; Hinson, P.A., by Richard A. Vinroot; and Nexsen Pruet, PLLC, by
           James C. Smith, for amici curiae C.E. Williams, III, et al.

           Offit Kurman, P.A., by Amy P. Hunt and Robert B. McNeill, for amici curiae
           Michael and Karyn Reardon.

           Roberson Haworth &amp; Reese, PLLC, by Alan B. Powell and Andrew D. Irby, for
           amicus curiae Lori Postal.

           Ball Barden &amp; Cury P.A., by J. Boone Tarlton, and Roberts &amp; Stevens, P.A., by
           Kenneth R. Hunt, for amici curiae Daniel Kayser et al.


           DIETZ, Judge.


¶1         For much of our State’s history, a title search in North Carolina was a costly,

     often risky endeavor. Buyers—typically through their real estate attorneys—had to

     carefully comb back through deeds and other property records, sometimes going back

     for centuries, to ensure they found every recorded interest in the property, including

     things like easements and restrictive covenants attached to the land.

¶2         In the early 1970s, our State enacted the Real Property Marketable Title Act

     to simplify these title searches and reduce the costs they imposed on our society. Now,

     if a property owner has an unbroken chain of title dating back thirty years, earlier

     rights and interests in the land are extinguished, barring a few narrow exceptions.



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¶3           This case involves one of these statutory exceptions. The Marketable Title Act

     does not extinguish a covenant that is part of a scheme of development and that

     restricts the property to residential use only, or more narrowly to multi-family or

     single-family residential use only.

¶4           The parties in this case own property in a residential subdivision created in

     the 1950s. The lots are subject to a restrictive covenant limiting them to residential

     use only, as well as a number of other covenants that govern the number, size,

     location, and various design elements of structures located on each lot. The trial court

     entered a declaratory judgment holding that only the first covenant—the one

     restricting the properties to residential use—survives under the Marketable Title Act

     and that the remaining challenged covenants were extinguished.

¶5           We affirm the trial court’s order. Applying the plain and unambiguous

     language of the Act, the covenants governing the type of structures that can be

     erected on the property, where they are located, and what they look like are not

     covenants concerning residential use or, more narrowly, multi-family or single-family

     residential use. This is confirmed by long-standing precedent from our Supreme

     Court interpreting language in covenants nearly identical to those at issue in this

     case.

¶6           Defendants urge this Court to depart from the Act’s plain language—to, in

     essence, rewrite the statute—because, in their view, our General Assembly could not

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     have intended this result. This is so, Defendants argue, because following the Act’s

     plain language would destroy the character of many older neighborhoods that have

     long been governed by these types of aging restrictive covenants.

¶7         What Defendants ask of us is beyond the role of the judicial branch. We

     interpret statutes as they are written; we do not rewrite statutes to ensure they

     achieve what we believe is the legislative intent. If our interpretation of the plain

     language of a statute yields unintended results, the General Assembly can amend the

     statute to ensure it achieves the intent of the legislative branch of our government.

                               Facts and Procedural History

¶8         Country Colony is a residential subdivision in Mecklenburg County developed

     in the 1950s. In 1952, before selling any lots, the developer recorded nine restrictive

     covenants. The covenants limit the properties to residential use only and provide

     further restrictions on the number, size, location, and design elements of the

     structures located on each lot:

                  1. All lots in the tract shall be known and described and
                     used for residential lots only.

                  2. No structure shall be erected, altered, placed or
                     permitted to remain on any residential building plot
                     other than one detached single-family dwelling not to
                     exceed two and one-half stories in height and a private
                     garage, and other outbuildings incidental to residential
                     use of the plot.

                  3. No building shall be erected on any residential building


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   plot nearer than 100 feet to the front lot line nor nearer
   than 20 feet to any side line.

4. No noxious or offensive trade or activity shall be carried
   on upon any lot nor shall anything be done thereon
   which may be or become an annoyance or nuisance to
   the neighborhood.

5. No trailer, basement, tent, shack, garage, barn or other
   outbuilding erected in the tract shall at any time be
   used as a residence temporarily or permanently, nor
   shall any structure of a temporary character be used as
   a residence.

6. No dwelling costing less than $10,000.00 shall be
   permitted on any lot in the tract. The ground floor area
   of the main structure, exclusive of one story open
   porches and open car ports, shall be not less than 1200
   square feet in case of a one story structure. In the case
   of a one and one-half, two or two and one-half story
   structure, the ground floor area of the main structure,
   exclusive of one-story open porches or open car ports,
   shall not be less than nine hundred square feet. (It
   being the intention to require in each instance the
   erection of such a dwelling as would have cost not less
   than the minimum cost provided if same had been
   erected in January, 1952.)

7. A right of way is and shall be reserved along the rear of
   each lot and along the side line of each lot where
   necessary, for pole lines, pipes and conduits for use in
   connection with the supplying public utilities service to
   the several lots in said development.

8. In the event of the unintentional violation of any of the
   building line restrictions herein set forth, the parties
   hereto reserve the right, by and with the mutual
   written consent of the owner or owners, for the time
   being of such lot, to change the building line restrictions
   set forth in this instrument; provided, however, that

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                       such change shall not exceed ten percent of the original
                       requirements of such building line restrictions.

                    9. None of the lots shown on said plat shall be subdivided
                       to contain less than two acres, and only one residence
                       shall be erected on each of said lots.

¶9           Plaintiff is the owner of seven of the lots. Defendants are the owners of the

       other lots. Plaintiff brought a declaratory judgment action seeking to extinguish

       many of these covenants based on our State’s Marketable Title Act. The trial court

       entered summary judgment declaring that the first covenant, which restricts the lots

       to residential use, is enforceable but the remaining covenants challenged by Plaintiff

       are extinguished by operation of the Marketable Title Act. Defendants appealed.

                                              Analysis

¶ 10         Under the common law, owners of real property acquired and held title to their

       real property subject to any covenants and other nonpossessory interests that

       appeared in their property’s chain of title. As a result, owners and prospective owners

       of real property, typically through their real estate attorneys, were required to trace

       the title to property back for centuries to ensure all enforceable interests in that

       property were identified. This was often a complicated and time-consuming process

       that injected significant cost, delay, and uncertainty into our State’s real property

       market.

¶ 11         In 1973, our General Assembly passed the Real Property Marketable Title Act



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       to simplify title searches and render our State’s real estate more marketable. See N.C.

       Gen. Stat. § 47B-1 et seq. The Marketable Title Act functions by creating “marketable

       record title” to real property upon a showing of an unbroken, thirty-year chain of title

       to real property. Hill v. Taylor, 174 N.C. App. 415, 420–21, 621 S.E.2d 284, 288–89

       (2005). Once the owner establishes marketable record title, the Act extinguishes “all

       rights, estates, interests, claims or charges whatsoever, the existence of which

       depends upon any act, title transaction, event or omission that occurred prior to such

       30–year period,” including restrictive covenants like the ones at issue in this case,

       unless those restrictive covenants fall within the exceptions to the Act contained in

       Section 47B-3. Id. (citing N.C. Gen. Stat. §§ 47B-2(c), 47B-3).

¶ 12         The crux of this case is the proper interpretation of one of the exceptions in

       Section 47B-3, which provides that the Act does not extinguish a covenant applicable

       to a general or uniform scheme of development which restricts the property to

       residential use, or more narrowly to multi-family or single-family residential use:

                    Such marketable record title shall not affect or extinguish
                    the following rights:

                    ...

                    (13) Covenants applicable to a general or uniform scheme
                    of development which restrict the property to residential
                    use only, provided said covenants are otherwise
                    enforceable. The excepted covenant may restrict the
                    property to multi-family or single-family residential use or
                    simply to residential use. Restrictive covenants other than

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                    those mentioned herein which limit the property to
                    residential use only are not excepted from the provisions of
                    Chapter 47B.

       N.C. Gen. Stat. § 47B-3(13).

¶ 13         The trial court declared that the first challenged covenant, providing that all

       “lots in the tract shall be . . . used for residential lots only” fell within the exception

       of Section 47B-3(13) and was not extinguished. The court declared that the other

       challenged covenants—those restricting the size and number of structures erected on

       lots, establishing setbacks on the property, barring further subdivision of lots, and

       imposing various other architectural limitations on structures built upon the lots—

       did not fall within Section 47B-3(13) and were extinguished under the Act.

¶ 14         On appeal, Defendants contend that the trial court erred in its interpretation

       of N.C. Gen. Stat. § 47B-3(13) and that all of the challenged covenants survive under

       this exception to the Marketable Title Act. We thus begin our analysis by interpreting

       the language of N.C. Gen. Stat. § 47B-3(13).

¶ 15         “The intent of the General Assembly may be found first from the plain

       language of the statute, then from the legislative history, the spirit of the act and

       what the act seeks to accomplish.” State v. Lemus, __ N.C. App. __, 848 S.E.2d 239,

       242 (2020). “But, if the statutory language is clear and unambiguous, then the

       statutory analysis ends and the court gives the words in the statute their plain and

       definite meaning.” Id.

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¶ 16         Defendants argue that, under N.C. Gen. Stat. § 47B-3(13), if a collection of

       covenants governing a uniform scheme of development include a restriction on

       residential use only, the Marketable Title Act exempts all covenants applying to that

       uniform scheme of development. This is so, Defendants argue, because the phrase

       “which restrict the property to residential use only” modifies the immediately

       preceding phrase “general or uniform scheme of development”:

                    (13) Covenants applicable to a general or uniform scheme
                    of development which restrict the property to residential use
                    only, provided said covenants are otherwise enforceable.
                    ...

       N.C. Gen. Stat. § 47B-3(13) (emphasis added).

¶ 17         The flaw in this argument is that the verb “restrict” is in its plural form, which

       means that, in the phrase “Covenants applicable to a general or uniform scheme of

       development which restrict the property to residential use only,” the phrase “which

       restrict” is modifying the plural “covenants” and not the singular “scheme of

       development.” We thus reject Defendants’ proposed interpretation and hold that this

       exception in N.C. Gen. Stat. § 47B-3(13) applies only to “covenants . . . which restrict

       the property to residential use only” and not to other covenants that are part of a

       general or uniform scheme of development and merely accompany a covenant

       restricting the property to residential use only.

¶ 18         Defendants next argue that, even if the statute applies only to “covenants . . .



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       which restrict the property to residential use only,” that phrase should be read

       broadly to include accompanying covenants relating to the residential use of the

       property, such as those governing the size and number of structures erected on lots

       and imposing various architectural limitations on structures built upon the lots.

¶ 19         But again, this proposed interpretation cannot be squared with the statute’s

       plain language. The next two sentences of N.C. Gen. Stat. § 47B-3(13) further define

       the types of covenants that are subject to the statutory exception and expressly state

       that the exception is limited solely to those covenants restricting property to

       residential use, or more narrowly to multi-family or single-family residential use, and

       that it does not apply to other, related covenants:

                    (13) Covenants applicable to a general or uniform scheme
                    of development which restrict the property to residential
                    use only, provided said covenants are otherwise
                    enforceable. The excepted covenant may restrict the
                    property to multi-family or single-family residential use or
                    simply to residential use. Restrictive covenants other than
                    those mentioned herein which limit the property to
                    residential use only are not excepted from the provisions of
                    Chapter 47B.

       Id. (emphasis added).

¶ 20         By stating that the excepted covenant “may restrict the property to multi-

       family or single-family residential use or simply to residential use,” the statute

       indicates that it applies solely to these specific covenants, not to other, related ones

       that might accompany these specific covenants as part of a uniform scheme of


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       development. Defendants’ proposed interpretation would render the second sentence

       superfluous by broadening the exception for residential use to include many other

       forms of covenants.

¶ 21         The same is true of the third sentence, which again expressly indicates that

       the statute should not be read broadly and that it excepts only those covenants “which

       limit the property to residential use.” Id. This language, too, would be superfluous if

       we adopted Defendants’ proposed interpretation. Settled principles of statutory

       construction require us to follow a statute’s plain language and avoid interpretations

       that render meaningless the words chosen by our legislature. State v. Beck, 359 N.C.

       611, 614–15, 614 S.E.2d 274, 277 (2005).

¶ 22         The dissent also contends that, by using the phrase “general or uniform scheme

       of development,” the General Assembly signaled that this provision might exempt

       covenants concerning how a planned community is developed, not merely how the

       properties within it are used. Thus, the dissent reasons, the phrases “residential use”

       and “multi-family or single-family residential use” are ambiguous and can be read

       more broadly than their plain language requires. But the limiting phrase “general or

       uniform scheme of development” serves a plain and unambiguous purpose: it restricts

       the exemption to these sorts of planned communities and not to a covenant attached

       only to a single property. There is nothing ambiguous about this statutory language.

¶ 23         Accordingly, we reject Defendants’ arguments and hold that the exception in

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       Section 47B-3(13) applies only to covenants applicable to a general or uniform scheme

       of development that either restrict the property to residential use only, or more

       narrowly restrict the property to multi-family or single-family residential use only.

¶ 24            Having interpreted this provision of the Marketable Title Act, we turn to its

       application in this case. We agree with the trial court that the first covenant, stating

       that all “lots in the tract shall be . . . used for residential lots only” survives under the

       Marketable Title Act. The parties concede that all of the challenged covenants are

       ones applicable to a general or uniform scheme of development. This particular

       covenant restricts the properties to residential use only. It is therefore excepted from

       extinguishment under the Marketable Title Act by the plain terms of Section 47B-

       3(13).

¶ 25            We likewise agree with the trial court that the remaining challenged covenants

       are not subject to the exception in Section 47B-3(13) and are extinguished. Most of

       the provisions in these covenants quite plainly fall outside the exception: the setback

       requirements, the restrictions on subdividing lots, and the various architectural

       limitations. None of these provisions restrict the property to residential use, or more

       narrowly to multi-family or single-family residential use, and therefore are




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       extinguished.1

¶ 26          Two remaining provisions in the challenged covenants merit further analysis:

       (1) the provision that “No structure shall be erected, altered, placed or permitted . . .

       other than one detached single-family dwelling” and (2) the provision that “only one

       residence shall be erected on each of said lots.” Defendants contend that these two

       restrictions, in effect, limit the property to single-family use. But again, Defendants’

       argument cannot be squared with the language carefully chosen by our General

       Assembly.

¶ 27          The General Assembly could have stated that covenants restricting property

       to single-family or multi-family use and covenants restricting property to single-

       family or multi-family structures both survive under the Marketable Title Act. But

       that is not what the legislature said. The Act does not save covenants addressing the

       type of structure on property; it saves only those covenants restricting how that

       structure is used:

                      Such marketable record title shall not affect or extinguish
                      the following rights:

                      ...

                      (13) Covenants applicable to a general or uniform scheme

              1 The Marketable Title Act contains other exceptions, some of which arguably could apply to

       certain covenants challenged in this case, such as the seventh covenant concerning a right of way for
       utility lines, pipes, and conduits for public utilities. The parties in this appeal addressed only the
       exception in N.C. Gen. Stat. § 47B-3(13) and we therefore limit our appellate review solely to those
       arguments. See N.C. R. App. P. 28(b)(6).

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                    of development which restrict the property to residential use
                    only, provided said covenants are otherwise enforceable.
                    The excepted covenant may restrict the property to multi-
                    family or single-family residential use or simply to
                    residential use. . . .

       N.C. Gen. Stat. § 47B-3(13) (emphasis added).

¶ 28         Turning to the covenant barring any structure “other than one detached single-

       family dwelling,” we conclude that this covenant restricts the type of structure

       erected on the property and says nothing about how that structure is used.

¶ 29         We know this because our Supreme Court has held it. See J. T. Hobby &amp; Son,

       Inc. v. Fam. Homes of Wake Cty., Inc., 302 N.C. 64, 74–75, 274 S.E.2d 174, 181 (1981).

       In Hobby, there were two relevant covenants governing the residential subdivision in

       the case: one stating that no lot “shall be used except for residential purposes” and

       another stating that no “building shall be erected . . . other than one detached single-

       family dwelling.” Id. at 65–66, 274 S.E.2d at 176. The defendants, who operated a

       family care business, bought a home in the subdivision and converted it for multi-

       family use by four special needs adults and their care staff. Id. at 72, 274 S.E.2d at

       179–80. The Supreme Court held that this was consistent with both covenants: the

       family care home was used for residential purposes, thus complying with the first

       covenant, and the building itself was a single-family dwelling, thus complying with

       the second covenant. Id. at 74–75, 274 S.E.2d at 181. Critically important for this

       case, the Supreme Court held that the covenant’s language restricting the property


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       to “one detached single-family dwelling” did not limit the use of that dwelling to a

       single family. Id.
¶ 30         Here, too, a resident of this subdivision could convert their single-family

       dwelling for multi-family use without running afoul of the language in this covenant.

       The covenant restricts the property to one “detached single-family dwelling,” a

       restriction on the structure. It does not “restrict the property to multi-family or single-

       family residential use or simply to residential use.” N.C. Gen. Stat. § 47B-3(13). So,

       under the plain terms of the Marketable Title Act, it is extinguished.

¶ 31         We next turn to the covenant stating that “only one residence shall be erected

       on each of said lots.” Again, this covenant governs how many structures can be

       erected on a lot, not how they are used. And, again, we know this because our

       Supreme Court has held it. Huntington v. Dennis, 195 N.C. 759, 760–61, 143 S.E.

       521, 521–22 (1928). In Huntington, the Court held that an apartment complex with

       many separate apartments is a single “residence” for purposes of a covenant stating

       that “[a]ny residence erected on the property shall cost not less than $7,500.” Id. The

       covenant in this case stating that “only one residence shall be erected on each of said

       lots,” like the similar covenant in Huntington, only restricts the number of structures

       erected on the property; it does not restrict whether that structure is for single-family

       or multi-family use.

¶ 32         Defendants urge this Court to ignore the statute’s plain language because

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       applying that plain language to these two covenants “would destroy the common

       scheme of development for Country Colony, stripping the neighborhood naked, with

       only the ‘fig leaf’ of the residential use covenant.” This, Defendants contend, “could

       not have been the intent of the legislature, or it would, and could, have said so

       expressly.”

¶ 33         This reasoning reveals the ultimate flaw in Defendants’ argument—the

       legislature did say so expressly, in the words they chose when they crafted the

       statute. The role of the courts is to interpret statutes as they are written. We do not

       rewrite statutes to ensure they achieve what we, or the parties in a lawsuit, imagine

       are the legislature’s policy goals. Sykes v. Vixamar, 266 N.C. App. 130, 138, 830

       S.E.2d 669, 675 (2019).

¶ 34         Now, to be sure, if the plain reading of a statute leads to a result so absurd that

       no reasonable legislator could have intended it, we can ignore that absurd

       interpretation and find a reasonable one. Mazda Motors of Am., Inc. v. Sw. Motors,

       Inc., 296 N.C. 357, 361, 250 S.E.2d 250, 253 (1979). But the plain language of the

       Marketable Title Act is not absurd. There are countless reasons why rational

       legislators might have wanted to preserve restrictions on use but not restrictions on

       structure—not least of which is that the original proposal for our State’s Marketable

       Title Act might have included exemptions for both structure and use, but the General

       Assembly only had the votes to enact a bill focusing on use.

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¶ 35          And even if we, as judges, agreed with Defendants that the legislature might

       have intended something other than what the plain language provides, we would still

       follow the statute’s language. As this Court succinctly explained in a similar dilemma

       several years ago, we have “two choices: (1) we can apply the plain language and

       settled canons of statutory construction, which results in a statutory interpretation

       that the legislature may not have intended; or (2) we can interpret the statute in the

       way we, as judges, think the legislature intended, which may also result in a statutory

       interpretation that the legislature may not have intended.” Wells Fargo Bank, N.A.

       v. Am. Nat’l Bank &amp; Tr. Co., 250 N.C. App. 280, 287, 791 S.E.2d 906, 911 (2016). “The

       choice,” as we held in Wells Fargo, “is obvious.” Id. “We will not speculate about what

       we think the legislature intended; we will apply the plain language and applicable

       statutory canons and, if the result is unintended, the legislature will clarify the

       statute.” Id.
¶ 36          The dissent also emphasizes that courts do not construe statutes in favor of

       unrestricted use of land, as we are required to do with covenants. This is correct; we

       construe statutes by examining the words of the statute. The dissent struggles to

       understand why our General Assembly chose the words it used—in particular, the

       words “residential use” and “multi-family or single-family residential use.” But our

       task is not to speculate about why the legislature chose particular words, but to

       interpret those words according to their plain meaning and ordinary usage. Raleigh

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       Hous. Auth. v. Winston, 2021-NCSC-16, ¶ 8. The dissent also suggests that the

       Supreme Court, by affirming the dissent in Winding Ridge, held that the words

       “residential use” and “multi-family or single-family residential use” are ambiguous.

       But Winding Ridge holds precisely the opposite—that there is nothing ambiguous

       about words “restricting the type of occupancy or use that may be made of the

       dwelling.” Winding Ridge Homeowners Ass’n, Inc. v. Joffe, 362 N.C. 225, 657 S.E.2d

       356 (2008), reversing for reasons in dissent, 184 N.C. App. 629, 640, 646 S.E.2d 801,

       808 (2007). The ambiguity in Winding Ridge arose because the covenants’ headings

       purported to address “Use Restrictions” and “Use of Property,” but the covenants

       themselves focused “exclusively on construction and other structural concepts” and

       not on use. Id.
¶ 37         Finally, our analysis, unlike that of both Defendants and our dissenting

       colleague, is consistent with the stated intent of the Act. The General Assembly

       explained in the Act that “Land is a basic resource of the people of the State of North

       Carolina and should be made freely alienable and marketable so far as is practicable”;

       that “Nonpossessory interests” in real property “often constitute unreasonable

       restraints on the alienation and marketability of real property”; and that “Such

       interests . . . are prolific producers of litigation to clear and quiet titles which cause

       delays in real property transactions and fetter the marketability of real property.”

       N.C. Gen. Stat. § 47B-1. Then, the legislature declared that the Act “shall be liberally

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                                          Opinion of the Court



       construed to effect the legislative purpose of simplifying and facilitating real property

       title transactions by allowing persons to rely on a record chain of title of 30 years as

       described in G.S. 47B-2, subject only to such limitations as appear in G.S. 47B-3.” Id.

       § 47B-9.

¶ 38         So a key stated purpose of the Marketable Title Act is to make it easy for

       anyone buying real property to know precisely what covenants and other

       nonpossessory restrictions are, and are not, attached to the property. This, in turn,

       encourages the marketability of our State’s real property. Defendants’ interpretation

       would do the opposite. If we adopted Defendants’ strained interpretation, real

       property purchasers could not be certain what they were getting. There would be a

       chance that some judge out there somewhere could be persuaded that a covenant,

       even if not covered by the Act’s plain language, was close enough to survive. There

       would be “prolific producers of litigation” and “delays in real property transactions”

       and burdens on “the marketability of real property.” Id. § 47B-1. There would be

       everything the legislature expressly set out to prevent.

¶ 39         Simply put, we reject Defendants’ (and the dissent’s) invitation to trek into the

       minds of the legislature and rewrite the statute. The Marketable Title Act is clear

       and unambiguous. Under N.C. Gen. Stat. § 47B-3(13), the covenants that survive are

       those “applicable to a general or uniform scheme of development” that “restrict the

       property to multi-family or single-family residential use or simply to residential use.”

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                                            Opinion of the Court



       That’s it. Anything else is gone.

¶ 40         This means, as the trial court properly held, that the only covenant in this case

       that survives is the first one, stating that all “lots in the tract shall be . . . used for

       residential lots only.” The other challenged covenants are extinguished.

                                               Conclusion

¶ 41         We affirm the trial court’s judgment.

             AFFIRMED.

             Judge INMAN concurs.

             Judge DILLON concurs in part and dissents in part with separate opinion.




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        No. COA19-976 – C Invs. 2, LLC v. Auger


              DILLON, Judge, concurring in part, dissenting in part.


¶ 42          The appeal concerns Country Colony’s thirteen (13) private restrictive

       covenants. But we are not being asked to interpret those covenants; there is no

       argument between the parties as to their meaning. Rather, we are called upon to

       interpret a provision in our General Statutes, specifically N.C. Gen. Stat. § 47B-3(13)

       (2018), a provision that excepts certain private restrictive covenants from being

       extinguished by operation of our Real Marketable Title Act. This provision saves

       from the Act’s operation:

                     Covenants applicable to a general or uniform scheme of
                     development which restrict the property to residential use
                     only, provided said covenants are otherwise enforceable.
                     The excepted covenant may restrict the property to multi-
                     family or single-family residential use or simply to
                     residential use. Restrictive covenants other than those
                     mentioned herein which limit the property to residential
                     use only are not excepted from the provisions of Chapter
                     47B.

       N.C. Gen. Stat. § 47B-3(13).

¶ 43          I agree with the majority that this statutory provision saves the first private

       restrictive covenant at issue in this case, which states that the lots in Country Colony

       “shall be . . . used for residential lots only.”

¶ 44          But, unlike the majority, I also conclude that the statutory provision—

       specifically the portion of the second sentence which saves private covenants which

       “restrict the [burdened] property to . . . single-family residential use”—covers the

       portions of Country Colony’s second and ninth covenants, which restrict the use of
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                                Dillon, J., concurring in part, dissenting in part.



       each lot to a single-family residential structure. In other words, I conclude that the

       above statutory language describes both structural covenants and occupancy

       covenants; that is, occupancy covenants which limit the use of property to occupancy

       by a single family and structural covenants which limit the use of property to the

       development of a single-family type residential structure. Accordingly, on this point,

       I dissent.

¶ 45          In determining whether subsection (13) covers the covenants restricting the

       use of the lots to single-family type structures, we must be mindful that we are

       interpreting the words of a statute enacted by our General Assembly and not the

       words of a private restrictive covenant. It is true that, whether interpreting a statute

       or a private covenant, our goal is to discern the intent of the drafter.2 However, when

       the words used by the drafter are ambiguous (capable of more than one meaning),

       rules for interpreting a statute differ from rules for interpreting a private restrictive

       covenant.

¶ 46          Specifically, our Supreme Court mandates that ambiguities in the text of a

       private restrictive covenant must be resolved in favor of the unrestrained use of the

       real estate burdened by the covenant, based on the policy that private restrictions




              2 See State v. Rankin, 371 N.C. 885, 889, 821 S.E.2d 787, 792 (2018) (“The goal of statutory

       interpretation is to determine the meaning that the legislature intended upon the statute’s
       enactment.”).

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                              Dillon, J., concurring in part, dissenting in part.



       which burden the use of land are generally disfavored:

                    We begin our analysis of this case with a fundamental
                    premise of the law of real property. While the intentions of
                    the parties to restrictive covenants ordinarily control the
                    construction of covenants . . . such covenants are not
                    favored by the law . . . and they will be construed to the end
                    that all ambiguities will be resolved in favor of the
                    unrestrained use of land.

       J.T. Hobby &amp; Son, Inc. v. Family Homes of Wake Cty., Inc., 302 N.C. 64, 70, 274 S.E.2d

       174, 178 (1981) (citations omitted).

¶ 47         Our Supreme Court, however, mandates a different rule when construing the

       words in an ambiguous statute. We do not construe ambiguous statutory provisions

       strictly, as we would the words in a private restrictive covenant, but rather:

                    [In] ascertaining the intent of the Legislature in cases of
                    ambiguity, regard must be had to the subject matter of the
                    statute, as well as its language, i.e., the language must be
                    read not textually, but contextually, and with reference to
                    the matters dealt with, the objects and purposes sought to
                    be accomplished, and in a sense which harmonizes with the
                    subject matter.

       Victory Cab Co. v. Charlotte, 234 N.C. 572, 576, 68 S.E.2d 433, 436 (1951) (emphasis

       added); see also Rankin, 371 N.C. at 889, 821 S.E.2d at 792 (“The intent of the General

       Assembly may be found first from the plain language of the statute, then from the

       legislative history, the spirit of the act and what the act seeks to accomplish.”).

¶ 48         The majority correctly points out that our Supreme Court has repeatedly held

       that private restrictive covenants limiting a lot to a single-family structure will not

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                             Dillon, J., concurring in part, dissenting in part.



       be construed to limit the occupancy use of that structure—that is, a private covenant

       restricting property to a single-family type structure will not be construed to prevent

       members of different families from using the structure at the same time. See, e.g.,

       Winding Ridge v. Joffe, 362 N.C. 225, 657 S.E.2d 356 (2008) (adopting per curiam the

       dissenting opinion in 184 N.C. App. 629, 646 S.E.2d 801 (2007)); Hobby, 302 N.C. at

       74-75, 274 S.E.2d at 181-82. But in Winding Ridge and Hobby, our Supreme Court

       held in each case that the covenant language at issue was ambiguous and then

       resolved the ambiguity by applying the rule “that any doubt arising or ambiguity

       appearing [in a covenant] will be resolved against the validity of the restriction[.]”

       Edney v. Powers, 224 N.C. 441, 443, 31 S.E.2d 372, 374 (1944).

¶ 49         For instance, in Hobby, our Supreme Court explained:

                    We disagree with the position taken by plaintiffs [who were
                    seeking a broad interpretation of the covenants] for several
                    reasons.

                    First, plaintiffs’ position is inconsistent with one of the
                    fundamental premises of the law as it relates to restrictive
                    covenants: Such provisions are not favored by the law and
                    they will be construed to the end that all ambiguities will
                    be resolved in favor of the free alienation of land.

                    While it is possible that a restriction as to the type of
                    structure would, in some instances, limit the character of
                    the type of usage to which the building is employed, we
                    conclude that such is not necessarily the case.

       Hobby, 302 N.C. at 74, 274 S.E.2d at 181. And in Winding Ridge, our Supreme Court


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       adopted the reasoning of the dissenting judge in our Court, who reasoned:

                    In any event, in light of Hobby [and another case], the
                    restrictive covenant in this case is at best ambiguous. It
                    cannot be viewed as being “clearly and unambiguously
                    drafted,” as required by Hobby. In the absence of the
                    requisite clarity, the ambiguity must be resolved in favor
                    of free use of property.

       Winding Ridge, 184 N.C. App. at 641, 646 S.E.2d at 809 (citation omitted).

¶ 50         However, Hobby and Winding Ridge are not directly on point, as those cases

       concern the interpretation of ambiguous private restrictive covenants, not of an

       ambiguous statute. Notwithstanding, the reasoning in those decisions does suggest

       that Chapter 47B-3(13) is ambiguous. Indeed, Winding Ridge stands for the

       proposition that language referring to the “use of the ‘property,’ [is a] concept equally

       consistent with both structural and occupancy restrictions.” Id. at 641, 646 S.E.2d at

       809. Therefore, the language in Chapter 47B-3(13) referring to covenants restricting

       property to single-family residential use is equally consistent with both structural

       and occupancy restrictions.

¶ 51         We must, therefore, look to the context and subject matter of the statute to

       determine whether our General Assembly intended “single-family residential use” to

       be read narrowly, to include only covenants restricting how structures are occupied,

       no matter their design, or whether our General Assembly intended that phrase to be

       read more broadly to also include structural covenants (i.e., covenants restricting the


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                              Dillon, J., concurring in part, dissenting in part.



       use of the property itself to single-family residential structures).

¶ 52          Again, our Supreme Court instructs that “regard must be had to the subject

       matter of the statute.” Victory Cab, supra. And in my view, the subject matter of

       Chapter 47B-3(13) strongly suggests that our General Assembly was, at least in part,

       concerned with protecting covenants restricting the type of structures developed, as

       the statutory provision is expressly limited in application to “[c]ovenants applicable

       to a general or uniform scheme of development[.]”

¶ 53          Also, the statute speaks of covenants restricting how “the property” is used,

       not merely how “the structures” on those properties are used.                As explained in

       Winding Ridge, a covenant restricting a “property” to “residential use” could

       reasonably be read to include, not only occupancy restrictions, but also structural

       restrictions.

¶ 54          Further, the second sentence in Chapter 47B-3(13), contextually, suggests that

       the General Assembly was concerned, at least in part, with saving structural

       restrictions. For instance, this sentence which preserves “single-family residential

       use” covenants also preserves “multi-family [] residential use” covenants. In my view,

       “multi-family [] residential use” covenants most logically include structural

       restrictions which only allow multi-family type buildings (duplexes, quadruplexes,

       and the like) and prohibit single-family residential type structures.             Covenants

       requiring multi-family structures are much more prevalent. I am unaware of any

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       private covenant in North Carolina (though they might exist) that restricts the

       occupancy of a structure to multi-family use, irrespective of the type of structure

       placed on the property. Indeed, an owner of a duplex subject to a multi-family

       “occupancy” covenant would be in violation whenever there was a vacancy, as during

       those times, the duplex structure would only be occupied by a single family. By

       preserving “multi-family” use covenants, it is logical to surmise that our General

       Assembly had structural covenants in mind.

¶ 55         I do agree with the majority that our goal is to construe the statute as written

       and not read in language that is not there. But I am not reading in any language, as

       covenants restricting the use of property is “a concept equally consistent with both

       structural and occupancy restrictions.” Winding Ridge, supra. It certainly could be

       argued that the better policy would be to favor protecting all the Country Colony

       covenants, to better preserve the character of this older neighborhood. But we are

       not the General Assembly, and Chapter 47B-3(13) could not be clearer: “Restrictive

       covenants other than those mentioned herein which limit the property to residential

       use only are not excepted from the provisions of Chapter 47B.” Accordingly, I agree

       with the majority that the remaining Country Colony covenants, for instance the

       covenant limiting the size of each lot, are not protected by Chapter 47B-3(13).

¶ 56         This is not to say that our General Assembly forbids older neighborhoods from

       retaining their character. Indeed, that body has provided a means within the Act by

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which a lot owner in an older neighborhood may preserve all covenants. Specifically,

Section 47B-4 allows any lot owner in an older neighborhood with covenants about to

expire by operation of the Act to preserve all the covenants for another thirty (30)

years. They do this by simply filing a notice of the covenants in the county’s register

of deeds, naming the other lot owners as grantees (so that the notice of the covenants

will be discovered during a title search of any of the neighborhood lots going back

thirty (30) years). It is simply that our General Assembly has chosen to favor the

policy purposes of the Act—to simplify title searches—over the preservation of most

types of restrictions which create uniformity within a neighborhood, but which do not

appear recently in the chains of title.




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